           Case 2:05-cr-00542-GEB Document 75 Filed 02/08/07 Page 1 of 2


 1   ALEX R. KESSEL (State Bar No. 110715)
     16000 Ventura Blvd.
 2   Penthouse Suite 1208
     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                           FOR THE CENTRAL DISTRICTOF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                       )   CASE NO.: 2:05-CR-542-GEB
11                                                   )
                           Plaintiff,                )   STIPULATION RE: PERMISSION
12                                                   )   FOR DEFENDANT TO LEAVE
     vs.                                             )   CENTRAL DISTRICT JURISDICTION;
13                                                   )   ORDER THEREON
     NAM PHAMTRAN,                                   )
14                                                   )
                           Defendant.                )
15                                                   )
16
             IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
17
     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
18
             1.     Defendant Nam Phamtran be permitted to leave the jurisdiction of the Central District
19
     in order to attend a family gathering in Las Vegas, Nevada, from February 9, 2007, to February 11,
20
     2007, for a period of three days;
21
             2.     Defendant Nam Phamtran, upon arriving in Las Vegas, Nevada shall contact his
22
     pretrial services officer, TODD SAUBER (714) 338-4562 , and advise him of the defendant's
23
     location of residence and telephone number in Las Vegas, Nevada; and
24
             3.     Defendant Nam Phamtran, upon return to his place of residence in the Central
25
     District shall contact his pretrial services officer, TODD SAUBER (714) 338-4562, and advise him
26
     of defendant’s return from Las Vegas, Nevada.
27
     ///
28
     ///

                                                         1
        Case 2:05-cr-00542-GEB Document 75 Filed 02/08/07 Page 2 of 2


 1   DATED: February 6, 2007
 2
 3                                                  /S/ Alex R. Kessel
                                                ALEX R. KESSEL
 4                                              Attorney for Defendant,
                                                NAM PHAMTRAM
 5
 6   DATED: February 6, 2007
 7
 8
                                                       /S/ Matthew Stegman
 9                                              MATTHEW STEGMAN
                                                Assistant United States Attorney
10                                              for Plaintiff, UNITED STATES OF AMERICA
11
                                        ORDER
12
           IT IS SO ORDERED.
13
14   Dated: February 7, 2007

15
16                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
17
18
19
20
21
22
23
24
25
26
27
28


                                            2
